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 To whom it may concern.

  My name is Benjamin Cloward I am a IATSE local 99 card holding union member. For our union
 am a supervisor and a trainer. I am a born again ChrisBan. I was radically healed of drug
 addicBon 16 years ago when I gave my life to Jesus. I met Dana Steele in August 2021. I was
 working with her one day and I began sharing with her my understanding of Jesus and the Bible.
 She was brought to tears by the informaBon, she told me shad had been praying to God and ask
 for help and that she had recently quit doing drugs and alcohol. I began to explain to her how I
 was healed and that you really need Jesus to help you with your Journey. As we conBnued to
 work together I bought her a book that explain what the New Covenant is. The book is called
 DesBn to Reign by Josheph Prince. As I conBnued to see her from Bme to Bme and she was
 reading the book and it was helping her. We became good friends over Bme she has been to a
 couple ChrisBan meeBng at my house I have watched her grow as a person as she follows the
 Lord Jesus. I believe that through the grace of Jesus she has been made a new person according
 to 2 Corinthians 5:17 Therefore if anyone is in Christ they are a new creaBon; the old things
 have passed away; behold, new things have come.

 Dana has become a good friend of mine. She is a very teachable person. Whenever I teach her
 something, whether it be about life skills or a new posiBon at work, she’s humble enough to
 listen & picks up and applies the informaBon quick. I truly believe that her main goal in life is to
 be completely diﬀerent from how she used to be.

 I would like to thank this court for its Bme.

 Sincerely,

 Benjamin Cloward.
